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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION



RYAN, LLC,

      Plaintiff,

CHAMBER OF COMMERCE OF
THE UNITED STATES OF                   CASE NO.: 3:24-CV-986-E
AMERICA, et al.,

      Plaintiff-Intervenors,

v.

FEDERAL TRADE COMMISSION,

             Defendant.



      DEFENDANT’S CONSOLIDATED BRIEF IN RESPONSE TO
     PLAINTIFFS’ MOTIONS FOR STAY OF EFFECTIVE DATE AND
                   PRELIMINARY INJUNCTION
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                                INTRODUCTION

      Non-compete clauses (“non-competes”) restrict competition in labor, product,

and service markets by preventing workers from taking new jobs or starting new

businesses. Because they undermine competition, non-competes have been scrutinized

by courts for hundreds of years and are prohibited or restricted to some degree in most

States. Yet non-competes continue to impair competition, suppressing wages,

entrepreneurship, and economic liberty.

      Congress charged the Federal Trade Commission (“the Commission”) through

the Federal Trade Commission Act (“the Act” or “FTC Act”) with preventing unfair

methods of competition in or affecting commerce. Recognizing the need to address

harms caused by non-competes, the Commission conducted an extensive inquiry into

the issue spanning two presidential administrations, including a robust review of the

literature, the Commission’s own empirical analysis, and collection of input from

market participants.

      The Commission received overwhelming evidence from the public about the

detrimental effects of non-competes. The Commission heard from doctors about rural

healthcare shortages caused by non-competes, from aspiring innovators blocked from

bringing to market a better product at a better price, from scientists for whom non-

competes had impeded collaboration and delayed discovery of breakthrough cancer

treatments, and from businesses prevented from expanding because dominant

corporations had locked up key talent. The Commission’s expert analysis of the record
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culminated in the promulgation of a rule declaring most existing non-competes

unenforceable, subject to an exception for certain senior executives, and banning the

future use of most non-competes. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May

7, 2024) (“Rule” or “Final Rule”).

      Plaintiffs, a private company and group of business-interest associations,

challenge the Commission’s effort to promote fair competition, seeking a stay of the

Rule’s effective date and a preliminary injunction. But Plaintiffs have not satisfied the

demanding standard to justify extraordinary, emergency relief.

      Plaintiffs are unlikely to succeed on the merits of their claims. Plaintiffs have not

meaningfully contested that the use of non-competes is an unfair method of

competition or that the Commission has authority to regulate non-competes through

adjudication. Rather, Plaintiffs’ arguments center on whether the Commission can

prohibit the use of non-competes through rulemaking. But Congress authorized the

Commission in clear language to prevent unfair methods of competition through both

adjudication and rulemaking, and the Commission’s choice of rulemaking to address

the anti-competitive effects of non-competes is both logical and unremarkable. The

major questions doctrine is also not implicated here, as the Rule falls squarely within

the Commission’s expertise and delegated authority. Plaintiffs have not offered a

persuasive reason that the Commission cannot regulate “unfair methods of

competition” generally and instead must apply a specific Sherman Act framework on a

case-by-case basis, particularly given that Congress designed the FTC Act to bolster the
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Sherman Act. The FTC Act also provides an intelligible principle by which the Rule can

be measured, and the Rule is not unlawfully retroactive since it has only prospective

effects. The Commission also easily satisfies the deferential arbitrary-and-capricious

standard given its exhaustive study of non-competes and thorough economic

justifications for the Rule.

                                 BACKGROUND

I.     THE FEDERAL TRADE COMMISSION ACT
       Congress established the Commission in 1914 as a bipartisan expert agency.

Federal Trade Commission Act of 1914, Pub. L. No. 63-203, 38 Stat. 717, codified as

amended at 15 U.S.C. §§ 41-58. The Commission has two core mandates, set forth in

Section 5 of the Act, codified at 15 U.S.C. § 45. First, Congress “empowered and

directed [the Commission] to prevent … unfair methods of competition in or affecting

commerce.” Id. § 45(a)(2). Second, Congress empowered and directed the Commission

to prevent “unfair or deceptive acts or practices [(“UDAPs”)] in or affecting

commerce.” Id.

       A. The Commission’s Directive to Prevent Unfair Methods of
          Competition
       Section 5’s directive to prevent “unfair methods of competition” confers on the

Commission “broad powers to declare trade practices unfair.” FTC v. Brown Shoe Co.,

384 U.S. 316, 320-21 (1966). The phrase that Congress intentionally chose—“unfair

methods of competition”—was then new in the law. The initial proposal used the


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phrase “unfair competition,” which had a recognized common law definition. FTC v.

R.F. Keppel & Bro., Inc., 291 U.S. 304, 310-11 (1934). Congress found that phrase “too

narrow,” and substituted for it the “broader and flexible phrase ‘unfair methods of

competition.’” Id. at 311-12. The Supreme Court has recognized that “unfair methods

of competition” encompasses conduct beyond that which violates the Sherman or

Clayton Acts, and that the FTC Act “supplement[s] and bolster[s]” those statutes. FTC

v. Motion Picture Advert. Serv. Co., 344 U.S. 392, 394-95 (1953).

       To fall within Section 5’s ambit, conduct must first be a “method of

competition” “as opposed to merely a condition of the marketplace, … such as high

concentration or barriers to entry.” Policy Statement Regarding the Scope of Unfair

Methods of Competition Under Section 5 of the Federal Trade Commission Act 8,

Comm’n File No. P221202 (Nov. 10, 2022), available at https://perma.cc/2G3F-2UW9.

(“Section 5 Policy Statement”) (synthesizing caselaw). The conduct must also be

“unfair,” which means it “goes beyond competition on the merits.” Section 5 Policy

Statement at 8-9. As articulated in caselaw and the Act’s legislative history, whether

competition goes beyond the merits requires both of “two key criteria”: (1) whether the

conduct is “coercive, exploitative, collusive, abusive, deceptive, predatory” or

“otherwise restrictive or exclusionary;” and (2) whether the conduct “tend[s] to

negatively affect competitive conditions,” for example by tending to “foreclose or

impair the opportunities of market participants” or “reduce competition between

rivals.” Section 5 Policy Statement at 9 & nn.51, 52; see also 89 Fed. Reg. at 38,358-59.
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        B. The Commission’s Section 5 Adjudicatory Authority
        The Commission carries out its mandates—preventing unfair methods of

competition and UDAPs—through various mechanisms, including adjudication and

rulemaking. Pursuant to Section 5 of the Act, enforcement actions subject to

adjudication before the Commission are governed by formal procedures and subject to

judicial review. 15 U.S.C. § 45(b), (c); 16 C.F.R. pt. 3. These adjudications are

precedential and apply to future Commission action.1 The Commission may also seek

injunctive relief in district court. 15 U.S.C. § 53(b).

        C. The Commission’s Section 6 Rulemaking Authority
        Section 6 of the Act, codified at 15 U.S.C. § 46, contains “additional powers” of

the Commission, including significant investigative authority and rulemaking authority

pertaining to any provision of the Act. Id. Section 6(g) empowers the Commission “to

make rules and regulations for the purpose of carrying out the provisions of this Act.”

38 Stat. at 722, see also 15 U.S.C. § 46(g). It also provides the Commission authority to

“classify corporations.” Id.

        Before statutory amendments that created separate procedural requirements for

UDAP rulemakings, see infra, the Commission used its Section 6(g) authority to

promulgate 26 rules combatting various violations of Section 5, including both unfair

methods of competition and UDAPs. See 89 Fed. Reg. at 38,349-50. For example, the


1 For example, the Commission announced its “competent and reliable scientific evidence” standard in an

adjudication decades ago, Bristol Meyers Co., 102 F.T.C. 21, 312, 315 (1983), and has regularly invoked that
standard since, e.g., In re POM Wonderful LLC, No. 9344, Final Order (FTC Jan. 10, 2013).

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Commission’s “Octane Rule” declared it to be both an unfair method of competition

and a UDAP to fail to disclose the minimum octane number on gasoline pumps.

Posting of Minimum Octane Numbers on Gasoline Dispensing Pumps, 36 Fed. Reg.

23,871 (Dec. 16, 1971), repealed by 43 Fed. Reg. 43,022 (Sept. 22, 1978).

       Some rules attracted Congressional attention and were displaced by legislation.

See, e.g., Cigarette Labeling and Advertising Act of 1965, Pub. L. No. 89-92 (1965), 79

Stat. 282, codified as amended at 15 U.S.C. § 1333 (displacing Unfair or Deceptive

Advertising and Labeling of Cigarettes in Relation to the Health Hazards of Smoking,

29 Fed. Reg. 8,324 (July 2, 1964)). Yet Congress took no action to limit the scope of

the Commission’s rulemaking authority with respect to unfair methods of competition.

The Commission’s rulemakings also withstood judicial challenges to the Commission’s

statutory authority to promulgate such rules. The D.C. Circuit held that the

Commission “is authorized to promulgate rules defining the meaning of the statutory

standards of the illegality that the Commission is empowered to prevent,” including

unfair methods of competition. Nat’l Petroleum Refiners, Ass’n v. FTC, 482 F.2d 672, 698

(D.C. Cir. 1973) (“National Petroleum”). The Seventh Circuit later agreed and

“incorporate[d] by reference that case’s lengthy discussion of the Commission’s

rulemaking authority under section 6(g).” U.S. v. JS&A Group, Inc., 716 F.2d 451, 454

(7th Cir. 1983).

       After the D.C. Circuit upheld the Commission’s rulemaking authority with

respect to both UDAPs and unfair methods of competition in National Petroleum,
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Congress amended the Act to add additional procedural requirements for UDAP

rulemakings while declining to disturb the Commission’s authority to issue rules

regarding unfair methods of competition. See Magnuson-Moss Warranty- Federal Trade

Commission Improvement Act, Pub. L. No. 93-637, 88 Stat. 2183 (Jan. 4, 1975) (“1975

Amendments”). The House initially proposed to prohibit the Commission from

“prescribing rules with respect to unfair competitive practices.” S. Conf. Rep. 93-1408

§ 202 (1974). But the Senate rejected the House’s proposal, and the Conference report

adopting the final text of the 1975 Amendments made clear that “[t]he conference

substitute does not affect any authority of the FTC under existing law to prescribe rules

with respect to unfair methods of competition ….” Id.

      Debate immediately before the Senate vote on the conference report further

demonstrated Congress’s awareness of the holding in National Petroleum, with a

statement quoting from the decision and noting that, because the 1975 Amendments

concerned consumer protection provisions, the new procedural requirements “are

limited to unfair or deceptive acts or practices rules.” 120 Cong. Rec. 39,579, 40,713

(1974) (statement of Sen. Hart). Debate also made clear that the amendments “are not

intended to affect the Commission’s authority to prescribe and enforce rules respecting

unfair methods of competition” and the Commission may continue to do so. Id.

      The 1975 Amendments, which became Section 18 of the Act, codified at 15

U.S.C. § 57a, created special procedures for Rules defining UDAPs while explicitly

preserving the Commission’s Section 6(g) authority to promulgate rules for unfair
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methods of competition. Section 18a(a)(2) provides:

       “The Commission shall have no authority under [the Act], other than its
       authority under this section, to prescribe any rule with respect to
       [UDAPs]…. The preceding sentence shall not affect any authority of the Commission
       to prescribe rules … with respect to unfair methods of competition….”
15 U.S.C. § 57a(a)(2) (emphasis added). Congress also amended Section 6(g) to

reference Section 18, stating that the Commission may issue rules and regulations

“except as provided in [Section 18(a)(2)].” Id. § 46(g).

       In the Federal Trade Commission Improvements Act of 1980 (“1980

Amendments”), Congress again amended the Act. Pub. L. No. 96-252, 94 Stat. 374.

These amendments, codified at 15 U.S.C. § 57b-3, created additional procedural steps

for the Commission’s rulemakings. Confirming that both Section 6(g) and Section 18(a)

provide substantive rulemaking authority, Congress defined “rule” by reference to

those sections and exempted from the new procedural requirements “interpretive rules,

rules involving Commission management or personnel, general statements of policy, or

rules relating to Commission organization, procedure, or practice.” 15 U.S.C. §

57b-3(a)(1). Congress also demonstrated its awareness of the scope of rules

promulgated under Sections 6(g) and 18(a) by recognizing that amendments to those

rules could have “an annual effect on the national economy of” at least $100 million.

Id. § 57b-3(a)(1)(A).




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II.   THE NON-COMPETES RULEMAKING

      A. The Proposed Rule
      Non-competes prevent individuals from moving freely to switch jobs or start

their own businesses. For centuries, courts have scrutinized non-competes, recognizing

their anticompetitive nature and pernicious effects. See Harlan M. Blake, Employee

Agreements Not to Compete, 73 Harv. L. Rev. 625, 636 (1960) (in Dyer’s Case, the Court

of Common Pleas in 1414 declared it “illegal at common law” to condition a promise

on an agreement “not [to] practice his trade for a period of six months in the plaintiff’s

town”); Mitchel v. Reynolds, 1 P. Wms. 181, 190 (Q.B. 1711) (recognizing that non-

competes may threaten “the loss of [the worker’s] livelihood, and the subsistence of his

family”). Non-competes are also subject to the Sherman Act. See U.S. v. Am. Tobacco

Co., 221 U.S. 106, 181-83 (1911). All States restrict non-competes to some degree, and

four States have banned them.

      In recent decades, a robust empirical literature studying non-competes has

developed. Changes in state law have provided natural experiments enabling

economists to isolate and quantify the harms caused by (not just correlated with) non-

competes. 89 Fed. Reg. at 38,382-84. It has also become clear that non-competes are

widespread, proliferating far beyond the boardroom to middle- and low-wage workers.

Id. at 38,346. Furthermore, even in States where non-competes are unlawful, employers

continue to use them. Id. at 38,429. And employers and workers face a confusing

patchwork of non-compete policies. Id. at 38,465.

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       Beginning in 2018, the Commission studied the extent of non-competes and

their effects through public hearings and workshops; invitations for public comment;

and a review of academic studies. See 89 Fed. Reg. at 38,343-44. In 2021, the

Commission initiated several investigations into the use of non-competes, which

resulted in consent decrees settling charges that those agreements were unfair methods

of competition under Section 5 and requiring firms to eliminate non-competes for

thousands of workers. Id. at 38,344.

       In 2023, the Commission proposed a rule that would require employers to

rescind all existing non-competes and prohibit employers from entering into new ones.

Non-Compete Clause Rule, 88 Fed. Reg. 3,482 (Jan. 19, 2023).

       B. The Commission’s Findings and Public Comments
       Before adopting the Final Rule, the Commission conducted an exhaustive survey

and analysis of the economic literature regarding non-competes and considered public

comments. In its expert judgment, the Commission found that all non-competes: (1)

are a method of competition as opposed to a condition of the marketplace, 89 Fed.

Reg. at 38,374; (2) are facially unfair because they are restrictive and exclusionary, id.;

and (3) tend to negatively affect competition in labor, product, and service markets, id.

at 38,379-402, 38,406-11. The Commission also found that non-competes with non-

senior executives are exploitative and coercive because they are often imposed

unilaterally. Id. at 38,374-79. However, the same is not true for senior executives, who

often have an opportunity to bargain for, and receive compensation for, non-competes.

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Id. at 38,405-06.

       For labor markets, the evidence showed that non-competes tend to reduce

competition by inhibiting efficient matching between workers and employers. Id. at

38,379. That is, non-competes reduce labor mobility by limiting the movement of

workers between firms. Id. at 38,380-81. This in turn suppresses wages, even for

workers not subject to non-competes. Id. at 38,382-84. For product and service markets,

the weight of the empirical evidence showed that non-competes inhibit new business

formation by preventing workers from leaving their jobs to start firms, and by

preventing existing businesses from hiring talented workers. Id. at 38,388-91. And for

similar reasons, non-competes inhibit innovation. Id. at 38,394-95. The Commission

also found that rulemaking (as opposed to case-by-case adjudication) is particularly

appropriate here because, by preventing efficient matching between workers and

employers, non-competes can have negative externalities that are difficult to capture in

an adjudication. Id. at 38,463.

       The overwhelming public support for the proposed rule reinforced these

empirical findings. See id. at 38,344 (over 25,000 of the 26,000 comments received

supported the proposed rule). Thousands of workers explained how restrictive

non-competes prevent them from taking a better job or starting a competing business,

which in turn keeps their wages low, subjects them to poor working conditions, and

reduces the quality and increases the prices of goods or services their employers offer.

Id. at 38,340-46; contra Ryan Mot. 8 (mistakenly suggesting that non-competes are
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“mutually beneficial”). Numerous small businesses and small business associations also

supported the Rule. 89 Fed. Reg. at 38,491-92.

       The Commission estimated that prohibiting non-competes would increase new

business formation by 2.7% annually and spur innovation, leading to over 100,000 new

patents over ten years. 89 Fed. Reg. at 38,433, 38,470. Worker earnings would increase

by $400 to $488 billion over ten years, id., and consumer prices would fall, id. at 38,478.

       C. The Final Rule
       For those reasons, the Commission adopted the Final Rule, which provides that

it is an unfair method of competition under Section 5 for employers to enter into non-

competes after the Rule’s effective date, September 4, 2024. 89 Fed. Reg. at 38,342. The

Rule also prohibits employers from enforcing existing non-competes and requires

employers to provide notices that those clauses are unenforceable, except with respect

to senior executives. Id. Existing non-competes with senior executives—which the Rule

defines as any worker who makes above $151,164 annually and is in a policy-making

position—may remain in effect. Id.; id. at 38,414.

       The Rule leaves undisturbed the myriad tools businesses have to protect trade

secrets and their investment in employees, such as trade secret law, appropriately

tailored non-disclosure agreements, fixed duration employment agreements, and

competing on the merits. Id. at 38,424-26.




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                             PROCEDURAL HISTORY

       Plaintiff Ryan, LLC (“Ryan”) initiated this suit on April 23, 2024. Compl., ECF

No. 1. On May 1, 2024, Ryan amended its complaint, challenging the Rule on several

constitutional and statutory bases under the Administrative Procedure Act (“APA”).

Am. Compl. ¶¶ 66-97, ECF No. 22. Ryan also moved to stay the effective date of the

Rule and for a preliminary injunction. See ECF No. 24 (“Ryan Mot.”).

       On May 9, 2024, the Court granted intervention to four associations who

previously filed suit in the Eastern District of Texas: the U.S. Chamber of Commerce,

Business Roundtable, Texas Association of Business, and Longview Chamber of

Commerce (collectively, “Association Plaintiffs”; collectively with Ryan, “Plaintiffs”).

Order, ECF No. 34. Association Plaintiffs challenged the Rule on similar, though not

entirely, overlapping grounds. Pl.-Intervenors Compl. ¶¶ 87-119, ECF No. 37, and

moved for a stay of the Rule’s effective date and preliminary injunction. See ECF No.

47 (“Association Mot.”).

                                 LEGAL STANDARD

       “A preliminary injunction is an extraordinary remedy and should only be granted

if the plaintiffs have clearly [met] all four requirements:” (1) “a substantial likelihood of

success on the merits;” (2) a “substantial threat” of irreparable harm absent an

injunction; (3) a balance of hardships in the movant’s favor; and (4) no “disserv[ice] to

the public interest.” Planned Parenthood of Hous. & Se. Tex. v. Sanchez, 403 F.3d 324, 329



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(5th Cir. 2005). 2 “Issuance of a preliminary injunction is to be treated as the exception

rather than the rule,” and Plaintiffs have “a heav[y] burden … to establish that

injunctive relief is appropriate.” Foley v. Biden, 2021 WL 7708477 at *1 (N.D. Tex. Oct.

6, 2021).

                                             ARGUMENT

    I.      PLAINTIFFS ARE UNLIKELY TO PREVAIL ON THE MERITS.
         The Commission properly determined that non-competes are “unfair methods

of competition” because they “tend to negatively affect competition conditions in labor

markets” as well as in “markets for products and services.” 89 Fed. Reg. at 38,379. The

Commission found that non-competes prevent efficient matching between employees

and employers, reduce wages, inhibit new business formation and innovation, and

ultimately may result in higher prices and lower quality products for consumers. See id.

at 38,379-402. The Commission also concluded that non-competes with workers other

than senior executives “are exploitative and coercive” because employers often impose

them unilaterally “without meaningful negotiation or compensation” and because they

“trap workers in worse jobs” and “force workers to bear significant harms and costs.”

Id. at 38,375-79.

         Plaintiffs do not meaningfully challenge the Commission’s conclusion that non-

competes are an “unfair method of competition.” Rather, Plaintiffs primarily contend



2 Unless indicated, internal quotations and citations omitted throughout.


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that, even accepting the Commission’s conclusion, the Commission is powerless to

promulgate a rule banning non-competes as violative of the Act. But that view of the

Commission’s authority is not supported by the statutory text or any relevant principle

of construction. The Commission lawfully exercised its statutorily granted rulemaking

authority to regulate non-competes. See NLRB v. Bell Aerospace Co., 416 U.S. 267, 294

(1974). Plaintiffs’ additional challenges to the Rule are similarly unpersuasive.

       A. The Commission Has Statutory Authority to Promulgate the Final
          Rule.
       The FTC Act declares unlawful “unfair methods of competition in or affecting

commerce.” 15 U.S.C. § 45(a)(1). Congress “empowered and directed” the Commission

to prevent the use of unfair methods of competition through both adjudication, id.

§ 45(b), and rulemaking, id. § 46(g). Plaintiffs’ effort to cabin that authority to

“procedural” or “investigative” rules fails because the Act provides the Commission

with a clear grant of regulatory authority, and contains no such textual limit on the types

of rules the Commission may promulgate. See Association Mot. 13-14; Ryan Mot. 14.

Plaintiffs’ invocation of the major questions doctrine is inapposite, because unfair

methods of competition are at the core of the Commission’s expertise. Cf. West Virginia

v. EPA, 597 U.S. 697, 721 (2022).




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             1. Ordinary Tools of Statutory Interpretation Make Clear That
                Congress Conferred Legislative Rulemaking Authority on the
                Commission in Section 6.

      The statutory text and legislative history make clear that Congress conferred on

the Commission the authority to promulgate legislative rules prohibiting unfair methods

of competition. Section 6(g) states: “The Commission shall also have power ... to make

rules and regulations for the purpose of carrying out the provisions of this Act.” 38

Stat. at 722, see also 15 U.S.C. § 46(g) (substituting “subchapter” for “Act). That

provision thus permits the Commission to promulgate all “rules and regulations”—

without any textual limitation—to implement Section 5(a)’s prohibition on unfair

methods of competition. The Rule plainly falls within that ambit because it prohibits

the use of non-competes as unfair methods of competition. And the Commission’s

power is confirmed by the Act’s directive to the Commission to “prevent” entities

subject to its jurisdiction “from using unfair methods of competition,” id. § 45(a)(2).

That directive inherently contemplates that the Commission will use forward-looking

rulemaking to “prevent” unfair methods of competition.

      Confirming that Section 6(g) confers legislative rulemaking authority, including

authority to define unfair methods of competition, Congress ratified this interpretation

in the 1975 Amendments. See CFCT v. Schor, 478 U.S. 833, 846 (1986) (“[W]hen

Congress revisits a statute giving rise to a longstanding administrative interpretation

without pertinent change, the congressional failure to revise or repeal the agency’s

interpretation is persuasive evidence that the interpretation is the one intended by
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Congress.”). Congress enacted the 1975 Amendments against the backdrop of the then-

recent decision in National Petroleum, which held that Section 6(g) empowers the

Commission to issue rules defining unfair methods of competition.3 482 F.2d 672.

Congress rejected a proposal to limit the Commission’s rulemaking authority for unfair

methods of competition, adopting instead statutory text explicitly preserving that

authority consistent with the holding of National Petroleum. See supra, Background Part

I.C; see also 15 U.S.C. § 57a(a)(2) (limits on the Commission’s UDAP rulemaking

authority “shall not affect any authority of the Commission to prescribe rules ... with

respect to unfair methods of competition”); City of Hous. v. FAA, 679 F.2d 1184, 1196

(5th Cir. 1982) (demonstrating ratification with “excerpts from the legislative record”). 4

        Congress revisited the Commission’s rulemaking authority again in the 1980

Amendments but left unchanged Section 6(g) as well as the language in Section 18

preserving the Commission’s authority to regulate unfair methods of competition,

further ratifying the Commission’s authority. See Silva-Trevino v. Holder, 742 F.3d 197,

202-03 (5th Cir. 2014) (Congress “expects” courts to “abide” by construction when

“relevant language remained unchanged” and lawmakers had “revisited” issue.). The




3 Both Association Plaintiffs and Ryan argue that National Petroleum was wrongly decided. Association Mot.

17-19; Ryan Mot. 19-20. But the “correctness” of that decision is irrelevant to the key point here: The holding
of that case provided the basis for the Congressional ratification confirming that Section 6(g) extends to rules
related to unfair methods of competition.

4 An errant statement in a preliminary report on amendments adopted nearly twenty years later incorrectly

describing the Commission’s pre-1975 “unfairness authority” is no basis to question the statutory text and clear
indication of Congressional ratification. Contra Association Mot. 16 (citing H.R. Rep. No. 103-138, at 4 (1993)).

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1980 Amendments further defined “rule” as one promulgated under Section 6 or 18 of

the Act but excluded non-legislative rules. 15 U.S.C. § 57b-3(a)(1). This exclusion makes

sense only if Congress understood rules issued under Section 6 to include legislative

rules prohibiting unfair methods of competition.

       Plaintiffs’ reading of the statute is also “at odds with one of the most basic

interpretive canons,” because it would render language in Section 6(g) and 18(a)(2)

“inoperative or superfluous.” Corley v. U.S., 556 U.S. 303, 314 (2009). Section 6(g)

empowers the Commission to make rules “for the purpose of carrying out” the Act

“except as provided in section [18(a)(2)],” which circumscribes the Commission’s

rulemaking authority only with respect to UDAPs. 15 U.S.C. § 46(g). This statutory

carve-out would have no “independent significance” if Section 6(g) did not allow the

Commission to make legislative rules before the 1975 Amendments. See Cascabel Cattle

Co. v. U.S., 955 F.3d 445, 451 (5th Cir. 2020). The explicit reservation of rulemaking

authority for unfair methods of competition in Section 18(a)(2) would similarly be

superfluous if the Commission did not possess that authority. Plaintiffs’ reading of

Section 6(g) impermissibly asks the Court not to “give effect” to that reservation. See

Ysleta Del Sur Pueblo v. Texas, 596 U.S. 685, 699 (2022).

       Plaintiffs’ view of the amendments is incompatible with the text of the statute

and the unambiguous legislative history. Plaintiffs characterize the 1975 Amendments

as granting rulemaking authority for UDAPs, but this authority already existed under

Section 6(g) and, indeed, the Commission had exercised it for the several decades
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preceding. See supra, Background Part I.C. Rather, the 1975 amendments narrowed the

Commission’s pre-existing authority to issue rules regarding UDAPs by permitting only

rules that “define with specificity” such acts and limiting all other UDAP rules. 15

U.S.C. § 57a(a)(1)(B); see also id. § 57a(a)(2). It is thus no surprise that the 1975

Amendments did not “grant” rulemaking authority for unfair methods of competition,

as Congress understood that such authority already existed and had ratified that

authority in the 1975 Amendments. See Association Mot. 15; Ryan Mot. 16.

       It is also of no import that Congress routinely directs the Commission to issue

rules targeting specific practices that Congress determines violate Section 5. E.g., 15

U.S.C. § 2310(a)(1)-(2) (the Commission “shall prescribe” rules setting forth the

minimum requirements for informal warranty dispute resolution procedures); id.

§ 1194(c) (“direct[ing]” the Commission to issue rules regarding flammable fabrics).

These provisions do not, as Plaintiffs suggest, limit the Commission’s rulemaking

authority. Association Mot. 15; Ryan Mot. 16-17. Instead, they represent explicit

directions from Congress to exercise the Commission’s authority to prevent specific

violations of Section 5. Indeed, even after the 1975 Amendments directing specific

procedures for UDAP rulemakings, Congress continued to enact statutes directing the

Commission to define specific UDAPs. E.g., 15 U.S.C. § 7607.

       Plaintiffs’ remaining arguments are unpersuasive. Plaintiffs give the text of

Section 6(g) short shrift, arguing that the location of Section 6(g) in the Act controls its

interpretation. Association Mot. 12-13; Ryan Mot. 14. But there is nothing remarkable
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about the location of the Commission’s substantive rulemaking authority. Section 6 is

titled “additional powers,” suggesting that Congress conferred these powers in addition

to the Commission’s adjudicatory authority. While it is true, as Ryan notes, that Congress

does not “alter the fundamental details of a regulatory scheme in vague terms or

ancillary provisions,” Ryan Mot. 14, that maxim has no place here. The Act is a “major

piece” of antitrust legislation “written in starkly broad terms,” cf. Bostock v. Clayton Cnty.,

590 U.S. 644, 680 (2020), notwithstanding Plaintiffs’ view that the rule is an

“unexpected application” of the Act. Id.

       Plaintiffs also advocate for a new canon of interpretation presuming that

Congress followed a convention whereby it would not grant “broad legislative

rulemaking authority without also enacting a provision providing penalties for violating

those rules.” Ryan Mot. 14-15; Association Mot. 12-13. This purported convention,

proffered in an academic journal more than twenty years ago, should not be adopted

here for the first time. See id. (citing Thomas W. Merrill & Kathryn Tongue Watts, Agency

Rules with the Force of Law: The Original Convention, 116 Harv. L. Rev. 467, 549-57 (2002)).

Even the authors of the article concede that “the convention was never explicitly

memorialized in an authoritative text,” “Congress was not infallibly attentive to the

drafting convention,” earlier justices on the Supreme Court “had no knowledge of the

convention,” and there are barriers that are “likely to give the Court significant pause

before endorsing the convention.” Agency Rules with the Force of Law, 116 Harv. L. Rev.

at 495, 519, 529, 587.
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      Finally, to the extent the Commission’s historical understanding of its rulemaking

authority is relevant, see Association Mot. 14; Ryan Mot. 15, the Court should take the

rules that the Commission has issued under Section 6(g), see supra, Background Part I.C,

as the definitive statement of its authority rather than cherry-picked statements from

the historical record. And, contrary to Association Plaintiffs’ suggestion, Association

Mot. 14, the Supreme Court has not definitively spoken on the scope of the

Commission’s rulemaking authority. See Seila Law, LLC v. CFPB, 591 U.S. 197, 219 n.4

(2020) (“[P]erhaps the FTC possessed broader rulemaking, enforcement, and

adjudicatory powers than the Humphrey’s Court appreciated.”). Indeed, the only courts

to squarely address the question held that Section 6 authorizes the Commission to

promulgate rules regulating unfair methods of competition. See Nat’l Petroleum, 482 F.2d

672; JS&A Group, 716 F.2d at 454.

             2. This Case Does Not Implicate the Major Questions Doctrine.

      Plaintiffs also invoke the major questions doctrine. But that doctrine is reserved

only for “extraordinary” cases, those “in which the history and breadth of the authority

that the agency has asserted, and the economic and political significance of that

assertion, provide a reason to hesitate before concluding that Congress meant to confer

such authority.” West Virginia, 597 U.S. at 721. Congress “directed” the Commission to

“prevent” the use of “unfair methods of competition.” 15 U.S.C. § 45(a)(2). In the more

than hundred years since, the Commission has done just that, both by adjudication and

rulemaking. See supra, Background Parts I.B-C. Finding that the use of non-competes is
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an unfair method of competition thus goes to the heart of the Commission’s mandate

under the Act and is not a “transformative expansion [of its] regulatory authority.” West

Virginia, 597 U.S. at 724.

       Plaintiffs miss the point in focusing on the Commission’s use of rulemaking

authority versus adjudication to regulate non-competes. No party contests that the

Commission could bring an enforcement action under Section 5 charging that the use

of non-competes is an unfair method of competition. Plaintiffs’ argument thus amounts

to the proposition that the Commission’s use of rulemaking to address non-competes,

as opposed to adjudication, is the major question meriting review. But the doctrine

applies when an agency steps outside of its area of expertise to regulate an issue beyond

its core mandate, not when an agency chooses one method of regulation over another.

See, e.g., West Virginia, 597 U.S. at 729 (characterizing agency as making “a different type

of policy judgment” based on “expertise ... not traditionally needed in [the agency’s]

regulatory development”); NFIB v. DOL, 595 U.S. 109, 117-18 (2022) (applying major

questions doctrine to rule setting “public health measures” that were “outside of

OSHA’s sphere of expertise” rather than “workplace safety standards”). Congress

directed the Commission to “prevent” unfair methods of competition, and “agencies

typically enjoy very broad discretion in deciding whether to proceed by way of

adjudication or rulemaking.” City of Arlington v. FCC, 668 F.3d 229, 240 (5th Cir. 2012).

       Ryan errs in contending that the Commission’s use of its rulemaking authority

represents a “fundamental revision” of the Act, transforming it “from an antitrust
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statute into a worker-protection statute.” Ryan Mot. 18. Far from transforming the Act,

the Rule is consistent with the Commission’s purpose in preventing unfair methods of

competition. See supra, Background Part II.B. Ryan’s misleading framing further ignores

the Rule’s numerous pro-competitive benefits, such as the promotion of new business

formation. See supra, Background Part II.C. The Commission is not claiming the

authority to regulate employer-employee relationships writ large or wading outside its

expertise in competition. Rather, it used its rulemaking authority to prevent a particular

unfair method of competition, as Congress explicitly directed it to do. This case is

therefore readily distinguishable from Biden v. Nebraska, where the Court rejected a

reading of the statute that would allow the Secretary to “rewrite” the Education Act by

waiving or modifying any provision in case of national emergency. 143 S. Ct. 2355, 2373

(2023).

       The Commission’s historical use of Section 6(g) to promulgate legislative rules

further distinguishes it from major questions cases. In West Virginia, the seminal major

questions doctrine case, the Court recounted the EPA’s one prior rule under the

relevant section, noting that “the legality of that choice was controversial at the time

and was never addressed by a court.” 597 U.S. at 725. Contrary to that case, where the

challenged rule had “no precedent” because it operated differently from the sole prior

rule, the Commission’s Rule is consistent with its historical use of Section 6(g), including

for rules defining certain unfair methods of competition. And courts upheld the

Commission’s rulemaking authority. See supra, Background Part I.C.
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      Stripping away Plaintiffs’ dispute over the Commission’s choice to proceed by

rulemaking, Plaintiffs appear to argue that the major questions doctrine applies simply

because the Rule “indisputably has enormous economic significance.” Ryan Mot. 17;

see also Association Mot. 16. But the scale of the Commission’s action is not what

determines whether this case should be analyzed under the major questions doctrine.

See Biden v. Missouri, 595 U.S. 87, 95 (2022) (not applying major questions doctrine

despite agency action “go[ing] further than what the Secretary has done in the past”).

The Commission was designed to prevent unfair methods of competition “in or

affecting commerce,” 15 U.S.C. § 45(a)(2), showing that Congress intended the

Commission to take actions affecting commerce throughout the national economy, see,

e.g., § 57b-3(a)(1)(A) (defining “rule” with reference to “annual effect on the national

economy of $100,000,000 or more”). And Association Plaintiffs are wrong to suggest

that the Rule opens the floodgates to rules banning “any other business practice or

category of conduct.” Association Mot. 16. The standard for future action by the

Commission remains the same today as it was prior to issuance of the Rule: a

determination that a method is an unfair method of competition under Section 5, and

compliance with the procedural and substantive requirements of either adjudication

under Section 5 or regulation under Section 6. Association Plaintiffs’ argument that the

major questions doctrine applies when an agency “intrudes into an area that is the

particular domain of state law,” Association Mot. 22 (quoting Alabama Ass’n of Realtors

v. HHS, 594 U.S. 758, 764 (2021)), also has no place here. Regulation of unfair methods
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of competition is clearly not the particular domain of State law given Congress’s

delegation of authority to the Commission to prevent such acts.

       In any event, the Commission has “clear Congressional authorization” to issue

rules relating to the Act, including unfair methods of competition, for all the reasons

explained supra, Section II.A.1. See West Virginia, 597 U.S. at 724.

       B. The Commission Properly Determined That All Non-Competes Are
          “Unfair Methods of Competition.”
       Plaintiffs do not generally dispute that the Commission is permitted to designate

non-competes as an unfair method of competition. Instead, Association Plaintiffs argue

only that, even if many or most non-competes are exploitative and reduce competition,

the Rule violates Section 5 because, in their view, some individual non-competes may

have procompetitive effects. Association Mot. 19-24. This argument minimizes the

Commission’s mandate to “prevent” unfair methods of competition, 15 U.S.C.

§ 45(a)(2), including through promulgating “rules and regulations,” id. § 46(g). That

mandate necessarily requires the Commission to take account of the widespread

adoption of practices across industry, not just the individual, isolated effects of a single

contract. The Commission need not demonstrate actual anticompetitive harm to

establish a violation—Section 5 reaches “incipien[t] acts” and conduct with a

“dangerous tendency … to hinder competition.” FTC v. Texaco, Inc., 393 U.S. 223, 224

(1968) (even where arrangement may not “foreclose[e] competitors,” when “the

anticompetitive tendencies of such a system are clear,” the Commission acted properly


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“in halting this practice in its incipiency” before it had “totally eliminated competition”).

Here, the Commission properly determined that non-competes, as a class, tend to and

in fact do have actual current anticompetitive effects in labor, product, and service

markets; an additional showing of such effects for every individual noncompete the

Rule covers is not required. 5

        Moreover, Association Plaintiffs misunderstand the Commission’s assessment

of the aggregate effects of non-competes. The Commission did not find that some

non-competes may individually be beneficial and some may individually be harmful—

rather, the Commission found that the use of any non-compete is an unfair method of

competition because non-competes, by definition, hinder competition and impose

negative externalities beyond one individual agreement. See, e.g., 89 Fed. Reg. at 38,407,

38,428. The Commission additionally found that non-competes are unjustified because

employers have other means to protect their legitimate interests without the same

burdens on competition. Id. at 38,421-34. 6




5 Even if Association Plaintiffs were correct that the Rule sweeps too broadly because some hypothetical set of

non-competes may not constitute unfair methods of competition, that would not provide any basis to enjoin
or stay the Rule entirely rather than as applied to that limited set of non-competes. See Natural Res. Def. Council
v. Wheeler, 955 F.3d 68, 81 (D.C. Cir. 2020) (explaining that “a court may invalidate only some applications” of
a regulation). But Association Plaintiffs make no attempt to show that the non-competes they use fall within
that hypothetical set and thus have not demonstrated any entitlement to relief even assuming the correctness
of their statutory argument.

6 Association Plaintiffs’ citation to Boise Cascade Corp. v. FTC, 637 F.2d 573 (9th Cir. 1980), which involved an

adjudication, is irrelevant. Boise Cascade held that “the mere widespread use” by petitioner of a pricing practice
did not suffice for Section 5 liability—it did not speak to whether the Commission can consider the economy-
wide impact of non-competes and how their use, both individually and broadly, results in significant
anticompetitive effects. See id. at 582.

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      Association Plaintiffs also invoke a specific doctrinal framework—a showing

that the conduct (1) produces anticompetitive effects that (2) are not offset by

procompetitive benefits, see Association Mot. 20—that does not apply here. That is a

partial description of the “rule of reason,” which applies to some Sherman Act claims.

But the FTC Act was specifically enacted to supplement the Sherman Act and the rule

of reason, and the Supreme Court has repeatedly affirmed that Section 5 reaches

conduct that would not itself violate the Sherman Act. Motion Picture Advert. Serv. Co.,

344 U.S. at 394-95. Association Plaintiffs’ cases applying the rule of reason to

adjudications thus have no relevance here. See Impax Lab’ys, Inc. v. FTC, 994 F.3d 484,

492 (5th Cir. 2021); N. Tex. Specialty Physicians v. FTC, 528 F.3d 346, 354-55, 363-70 (5th

Cir. 2008).

       Association Plaintiffs’ citations to cases involving specific non-competes are

similarly inapposite. In Bradford v. New York Times Co., the court (in dicta) observed that

courts had not recognized non-competes as a per se—i.e., automatic—violation of the

Sherman Act, a more stringent mode of analysis than the rule of reason. 501 F.2d 51,

59 (2d Cir. 1974). Likewise, in Snap-On Tools Corp. v. FTC, the court (again in dicta and

again applying Sherman Act principles) noted that it was not “prepared to say” that the

non-compete agreement at issue was per se invalid. 321 F.2d 825, 837 (7th Cir. 1963).

These cases say nothing about the Commission’s ability to regulate non-competes

through a rulemaking under the FTC Act.



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       In any event, the Commission did thoroughly consider possible procompetitive

justifications of non-competes, ultimately concluding that the harm outweighed any

benefits. The Commission examined commonly cited business justifications and found

that employers have alternatives to non-competes—whether considered individually or

in the aggregate—that burden competition to a lesser degree while still protecting

investments. 89 Fed. Reg. at 38,421-433. The Commission further considered the

possible procompetitive justifications in the aggregate and concluded that they “do not

justify the harms from non-competes … because the evidence indicates that increasing

enforceability of non-competes has a net negative impact along a variety of measures,”

id. at 38,433; see also id. at 38,393 (new business formation); id. at 38,395-97 (innovation);

id. at 38,409 (how non-competes with senior executives affect competition). The

Commission’s quantitative cost-benefit analysis also supported its determination that

the Rule “has substantial benefits that clearly justify the costs.” Id. at 38,490.

       Association Plaintiffs are also incorrect to suggest that, since the Founding,

non-competes have been a “common and well-accepted business practice” that fall

under the exclusive province of the states. Association Mot. 21. Plaintiffs’ suggestion

that the federal government is precluded from regulating certain business practices

under the Act simply because state law may also address those practices is contrary to

law. See Peerless Prods., Inc. v. FTC, 284 F.2d 825, 827 (7th Cir. 1960) (federal government

can regulate unfair business practices “even if the activities or industries have been the

subject of legislation by a state”). As described, supra, Background Part II.A, courts have
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invalidated non-competes for centuries, and non-competes have also long been subject

to federal antitrust laws. Indeed, it is commonplace for antitrust law to involve

overlapping jurisdiction between states and the federal government. See, e.g., LA Rev

Stat § 51:1405 (2023); N.Y. Gen. Bus. Law §§ 340 et seq.

       C. Congress Lawfully Delegated Authority to the Commission.
       Plaintiffs’ nondelegation challenges lack merit. The nondelegation doctrine

requires that Congress articulate “an intelligible principle” to guide the agency. Whitman

v. Am. Trucking Ass’ns, 531 U.S. 457, 472 (2001). That standard is “not demanding.” Big

Time Vapes, Inc. v. FDA, 963 F.3d 436, 442 (5th Cir. 2020). It stems from the “practical

understanding that in our increasingly complex society, replete with ever changing and

more technical problems, Congress simply cannot do its job absent an ability to delegate

power under broad general directives.” Mistretta v. U.S., 488 U.S. 361, 372 (1989). The

Supreme Court has only twice found a congressional delegation of power

unconstitutional, and only because “Congress had failed to articulate any policy or

standard” to confine the agency’s discretion. Gundy v. U.S., 588 U.S. 128, 130 (2019)

(plurality opinion).

       Section 5’s directive that the Commission prevent “unfair methods of

competition in or affecting commerce,” 15 U.S.C. § 45(a), easily meets the intelligible-

principle test. For decades, the Supreme Court has approved of Congress’s delegation

of authority to the Commission to regulate “unfair methods of competition.” E.g.,

Texaco, 393 U.S. at 225; Brown Shoe, 384 U.S. at 320. The Court has described the

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meaning of the phrase “unfair methods of competition” as “obvious”: “[T]he word

‘competition’ imports the existence of present or potential competitors, and the unfair

methods must be such as injuriously affect or tend thus to affect the business of these

competitors.” FTC v. Raladam Co., 283 U.S. 643, 649 (1931). This standard is not nearly

as sweeping as other delegations previously upheld by the Supreme Court, such as the

authority to set “fair and equitable” prices, Yakus v. U.S., 321 U.S. 414, 427 (1944); to

determine “just and reasonable” rates, Fed. Power Comm’n v. Hope Natural Gas Co., 320

U.S. 591, 600 (1944); to regulate broadcast licensing as “public interest, convenience,

or necessity” require, Nat’l Broad. Co. v. U.S., 319 U.S. 190, 225-26 (1943); to allow

railroad acquisitions in the “public interest,” N.Y. Cent. Secs. Corp. v. U.S., 287 U.S. 12,

24 (1932); and to issue any air quality standards “requisite to protect the public health[,]”

Whitman, 531 U.S. at 472.

       Further, the Fifth Circuit has instructed that in analyzing a nondelegation claim,

courts should consider” the statute’s “purpose,” its “factual background[,] and the

statutory context” in addition to the text. Big Time Vapes, 963 F.3d at 443. Congress

enacted the FTC Act “to supplement and bolster” the Sherman and Clayton Acts, and

courts have interpreted the meaning of unfair methods of competition accordingly.

Motion Picture Advert. Serv. Co., 344 U.S. at 394-95; see also supra, Background Part I.A.

A.L.A. Schechter Poultry Corp. v. United States further underscores the validity of the Act’s

delegation. 295 U.S. 495 (1935). The Court there contrasted the National Industrial

Recovery Act’s impermissible delegation to regulate “fair competition” with the
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permissible delegation in the Act to regulate “unfair methods of competition.” Id. at

531-36. Even though the latter was also “an expression new in the law” without “precise

definition,” the Commission could determine what constituted “unfair methods of

competition” “in the light of particular competitive conditions and of what is found to

be a specific and substantial public interest.” Id. at 532-33.

       Contrary to Ryan’s claims, Ryan Mot. 22-23, the Schechter Court also disclaimed

reliance on the Commission’s function as a quasi-judicial body, stating that “the

difference between the code plan of the Recovery Act and the scheme of the [FTC] Act

lies not only in procedure but in subject matter.” Schechter, 295 U.S. at 533-34. The Court

understood the phrase “fair competition” as having “a much broader range and a new

significance” than “unfair methods of competition.” Id. at 534. Ryan identifies no case

supporting its novel theory that a statutory phrase can constitute a lawful delegation in

the context of adjudication but an unlawful delegation with respect to rulemaking.

       Ryan also contends that the Commission’s identification in the Section 5 Policy

Statement of specific criteria it will consider when determining whether a method of

competition is unfair shows Section 5 lacks an intelligible principle. See Ryan Mot. 23.

But agencies frequently elaborate on statutory standards without raising a nondelegation

issue, and the Supreme Court has “almost never felt qualified to second-guess Congress

regarding the permissible degree of policy judgment that can be left to those executing

or applying the law.” Whitman, 531 U.S. at 474-75. Further, while Ryan contends that

the fact that States have upheld non-competes in the past suggests Congress has not
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offered an intelligible principle here, courts have “rejected the argument that a practice,

legal under local law, could not be banned under Section 5.” Spiegel, Inc. v. FTC, 540

F.2d 287, 293 (7th Cir. 1976). Finally, constitutional avoidance does not apply here,

because the Commission has clear rulemaking authority. See supra, Section I.A.

       D. The Act’s Removal Restrictions Are Lawful.
       As Ryan concedes, Ryan Mot. 25 n.4, the Fifth Circuit’s recent decision in

Illumina, Inc. v. FTC forecloses the challenge to the Act’s removal restrictions. 88 F.4th

1036, 1047 (5th Cir. 2023) (“[W]hether the FTC's authority has changed so

fundamentally as to render Humphrey’s Executor no longer binding is for the Supreme

Court, not us, to answer.”). Even if that were not the case, this challenge would fail

because Ryan has failed to show any harm from the Commissioners’ tenure protection.

See Collins v. Yellen, 141 S. Ct. 1761, 1781 (2021).

       E. The Rule Is Not Unlawfully Retroactive.
       A regulation operates retroactively where it “alters the past legal consequences of

past actions.” Mobile Relay Assocs. v. FCC, 457 F.3d 1, 11 (D.C. Cir. 2006). By contrast,

agency action “that only upsets expectations based on prior law”—“but has not

rendered past actions illegal or otherwise sanctionable”—“is not retroactive.” Nat’l

Cable & Telecommc’ns Ass’n v. FCC, 567 F.3d 659, 670 (D.C. Cir. 2009) (“National Cable”).

       Under that well-established framework, the Rule is not retroactive, because it

does not impose “past legal consequences” for any conduct predating its effective date.

Rather, it renders certain existing contractual terms prospectively unenforceable and

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restricts conduct in the future. Those are commonplace effects of changes in the law.

See Landgraf v. USI Film Prods., 511 U.S. 244, 269 n.24 (1994). The D.C. Circuit’s analysis

in National Cable is on all fours with this case. The regulation challenged there prohibited

cable companies from both “enforcing existing exclusivity contracts” and “executing

… new ones,” finding that such contracts were unfair methods of competition. 567

F.3d at 662. The court explained that the rule was not retroactive, because while it

“impaired the future value of past bargains,” it did not impose any liability based on

those bargains. Id. at 670. 7 Association Plaintiffs’ cursory argument that the Rule

implicates the Fifth Amendment also lacks merit. See Association Mot. 24-25. Their sole

authority for that contention, Eastern Enterprises v. Apfel, 524 U.S. 498, 534 (1998),

involved a statute that imposed “substantial and … far reaching” financial liabilities for

events decades in the past, thereby “divesting [the plaintiff] of property long after [it]

believed [those] liabilities … to have been settled.” The Rule, by contrast, does not

divest Plaintiffs of any property, imposes no financial penalties, and has purely

prospective effect.

        F. The Rule Is Not Arbitrary and Capricious.
        In applying the APA’s arbitrary-and-capricious standard, a court’s role is limited

to “ensur[ing] that the agency has acted within a zone of reasonableness and, in

particular, has reasonably considered the relevant issues and reasonably explained the


7 The Rule preserves an employer’s ability to pursue causes of action for non-compete violations that accrued

before the effective date. 89 Fed. Reg. at 38,439 (29 C.F.R. § 910.3(b)).

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decision.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). The Commission’s

decision to adopt a bright-line prohibition against non-competes—subject to a narrow

exception for existing non-competes binding senior executives—readily satisfies this

standard.

       Association Plaintiffs’ counterarguments are unpersuasive. See Association Mot.

25-30. First, they fault the Commission for relying on data from States whose regulatory

approach is more permissive than the approach that the Rule adopts. See id. at 26, 29.

This argument proceeds from the mistaken premise that an agency cannot adopt a

policy without empirical evidence drawn from another jurisdiction that has already

adopted that identical policy. Rather, an agency is entitled to “ma[ke] a reasonable

predictive judgment based on the evidence it ha[s].” Prometheus Radio Project, 592 U.S. at

427.

       Here, the Commission thoroughly explained how the evidence on which it relied

supports the conclusions drawn. For example, regarding earnings effects, the

Commission noted that “the most comprehensive study” found that “the effects of

changes in non-compete enforceability are broadly linear,” and thus it would be

reasonable to “extrapolate” that “larger changes will lead to larger effects.” 89 Fed. Reg.

at 38,385. Nevertheless, the Commission “follow[ed] a conservative approach” and

assumed only that the Rule “will have the same effects on earnings as the incremental

legal changes observed” in cited studies. Id. Thus, “if anything,” the Commission’s

analysis “underestimates the benefits of the [R]ule.” Id.
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      Association Plaintiffs also are mistaken to contend that the Commission relied

principally on studies that “compared different States’ approaches to enforcing non-

competes on particular facts.” Association Mot. 26, 29. Rather, the Commission placed

limited weight on such State-to-State comparisons, precisely because they are generally

less probative of causation than before-and-after analysis of a given State’s change in

approach to non-competes. 89 Fed. Reg. at 38,373-74; see, e.g., id. at 38,382.

      Plaintiffs also fail to establish that the Rule likely was arbitrary and capricious in

adopting a bright-line rule, rather than a case-by-case, multi-factor standard. See

Association Mot. 26-27. The Commission offered compelling justifications supporting

that decision: “[r]esearch demonstrates that employers maintain non-competes even

where they likely cannot enforce them,” and “the degree to which non-competes inhibit

worker mobility is affected not only by whether a non-compete is actually enforceable

but also on whether a worker believes their employer may enforce it.” 89 Fed. Reg. at

38,458. Relatedly, a categorical rule “provide[s] all market participants,” including

businesses, “greater clarity” than a piecemeal approach. Id. at 38,462-63. Further, case-

by-case adjudication is insufficient because “many workers cannot afford to litigate their

non-competes,” and an unreasonably broad non-compete may expire before a court

can rule on its validity. Id. at 38,463-64. And rulemaking, unlike case-by-case

adjudication, addresses “negative externalities” of non-competes “on other workers,

other firms, consumers, and the economy.” Id. at 38,462-63.



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       This analysis readily satisfies the APA’s demands. Even where agencies employ

“bright-line rules” solely “for reasons of administrative convenience”—without the

other benefits that the Commission identified here—they satisfy “the APA’s deferential

arbitrary-and-capricious standard, … so long as those rules fall within a zone of

reasonableness and are reasonably explained.” Emily’s List v. FEC, 581 F.3d 1, 22 n.20

(D.C. Cir. 2009) (Kavanaugh, J.). There accordingly is no basis for Plaintiffs’ suggestion

that the Commission can adopt a categorical rule only if a case-by-case approach would

yield identical results. See Association Mot. 26-27.

       Additionally, the Commission adequately justified its decision not to create

additional exceptions to the Rule. See 89 Fed. Reg. at 38,371 (independent contractors),

id. at 38,412-13 (severance agreements); id. at 38,402-04 (existing non-competes for

non-senior executives); id. at 38,458-59 (a rebuttable presumption against non-

competes); id. at 38,447-51 (healthcare workers); contra Association Mot. 28. Conversely,

the Commission clearly stated that the Rule does not apply to concurrent-employment

restrictions (“moonlighting” restrictions) and does not change the law governing non-

solicitation agreements. 89 Fed. Reg. at 38,368, 38,444.

       Association Plaintiffs also challenge the reasonableness of the Commission’s

cost-benefit analysis, see Association Mot. 29-30, but the Act precludes judicial review

of “[t]he contents and adequacy of” that regulatory analysis. 15 U.S.C. § 57b-3(c)(1).

Although the Act requires the Commission to “issue a final regulatory analysis” for all

final rules, it bars “any judicial review” of that analysis. Id. § 57b-3(b)(2), (c)(1).
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      In any event, Association Plaintiffs’ objections to the cost-benefit analysis lack

merit. For example, the Commission did not “wave[] away” the possibility that trade

secret litigation expenses may increase as a result of the Rule. Association Mot. 29.

Rather, it found that overall litigation costs “may rise or fall,” depending on firms’

subsequent use of other contractual provisions and trade secret law and how the costs

of related litigation compare to the decrease in costs of non-compete litigation, given

the decreased uncertainty associated with a bright-line rule on non-competes. 89 Fed.

Reg. at 38,470-71. As discussed, the Commission drew reasonable conclusions from

available data and explained how the data supported those conclusions. Contra

Association Mot. 29-30. And the Commission explained that the Rule does not prevent

employers from using “garden-variety NDAs” (non-disclosure agreements) to

safeguard their sensitive business information; it “prohibits only NDAs that are so

overbroad as to function to prevent a worker from seeking or accepting employment

or operating a business.” 89 Fed. Reg. at 38,426, 38,444; contra Association Mot. 29. The

Commission also thoroughly addressed the study discussed in the comment submitted

by professors including Dr. Acri. Compare FTC-2023-0007-21045, available at

https://perma.cc/UR3S-R372, with 89 Fed. Reg. at 38,397-98 & n.583. Finally,

Plaintiffs offer no support for their assertion that economic analysis of data from 2009

or 2014 is too “stale” to be useful. Association Mot. 30.




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II.    PLAINTIFFS FAIL TO DEMONSTRATE IRREPARABLE HARM.
       Plaintiffs’ failure to establish a likelihood of success on the merits is a sufficient

basis to deny their motions. See, e.g., McRorey v. Garland, 99 F.4th 831, 836 (5th Cir. 2024).

In any event, Plaintiffs also fail to establish that a preliminary injunction is necessary to

prevent imminent, irreparable harm.

       For example, Association Plaintiffs argue that their members face irreparable

harm absent a stay or injunction because “[p]arties that currently rely on noncompetes

will be forced to choose between terminating those agreements or risking an

enforcement action.” Association Mot. 4-5. But it is well established that “[m]ere

litigation expense, even substantial and unrecoupable cost, does not constitute

irreparable injury.” Plaquemines Par. v. Chevron USA, Inc., 84 F.4th 362, 375 (5th Cir.

2023). And this alleged harm is not attributable to the Rule, because the Commission

may undertake an enforcement action against those same entities pursuant to Section 5

even without the Rule in place. In any event, any harm that arises from Plaintiffs’ own

choice to violate the Rule would constitute “self-inflicted” injury, which “does not

qualify as irreparable.” Texas v. Biden, 10 F.4th 538, 558 (5th Cir. 2021) (per curiam).

III.   THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST
       DISFAVOR A PRELIMINARY INJUNCTION.
       Finally, the balance of equities and public interest weigh markedly in Defendant’s

favor. Plaintiffs mistakenly conflate their merits arguments with the distinct

requirement to demonstrate that the balance of equities and public interest tip in their


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favor. They characterize the Rule as “unlawful agency action” and proceed to argue that

there is no public interest in its enforcement. Ryan Mot. 27; Association Mot. 31.

Conversely, whenever the government “is enjoined by a court from effectuating statutes

enacted by representatives of its people, it suffers a form of irreparable injury.” Maryland

v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers). Thus, Plaintiffs’ framing

would collapse the merits prong of the preliminary injunction standard with the equities

and public interest factors. But the Supreme Court has made clear that a likelihood of

success on the merits, standing alone, is not a sufficient basis for that extraordinary

remedy. See, e.g., Winter v. NRDC, 555 U.S. 7, 26 (2008) (reversing the lower courts’

entry of a preliminary injunction on the ground “that the balance of equities and

consideration of the overall public interest” weighed in favor of the government). Thus,

even if Plaintiffs had established a likelihood of success on the merits—which they have

not—the Court still should deny their preliminary injunction motions on the distinct

ground that they fail to meaningfully address the remaining requirements, much less

establish that they weigh in Plaintiffs’ favor.

       Indeed, Plaintiffs make no effort to establish that any costs they may incur

outweigh the Rule’s expected benefits. Those benefits include increasing new business

formation by 2.7%; spurring innovation, including by leading to over 100,000 new

patents over the next decade and by increasing patent value; increasing wages by $524

annually for the average worker; decreasing healthcare spending by between $74 billion

and $194 billion over the next decade; and protecting the fundamental freedom of
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workers to pursue employment. 89 Fed. Reg. at 38,433, 38,476-77, 38,506. For that

reason alone, Plaintiffs fail to satisfy the requirements for a stay or preliminary

injunction.

IV.    ANY RELIEF SHOULD BE TAILORED.
       If the Court determines that emergency relief is warranted, any injunction or stay

should be limited to the extent necessary to redress Plaintiffs’ injuries. Under Article

III’s case-or-controversy requirement, a court may grant relief only insofar as it

remedies “the inadequacy that produced [a plaintiff’s] injury.” Gill v. Whitford, 138 S. Ct.

1916, 1929-30 (2018). Reinforcing that constitutional limitation is the traditional

equitable principle that an injunction must “be no more burdensome to the defendant

than necessary to provide complete relief to the plaintiffs.” Califano v. Yamasaki, 442

U.S. 682, 702 (1979). These principles apply equally to Plaintiffs’ request for a stay of

the Rule’s effective date under 5 U.S.C. § 705, which likewise limits relief “to the extent

necessary to prevent irreparable injury.” See also Labrador v. Poe, 144 S. Ct. 921, 923, 925-

28 (2024) (Gorsuch, J., concurring) (documenting the significant legal and practical

problems with nonparty relief generally and universal injunctions specifically). And

narrow tailoring is especially important here because the Rule’s severability provisions

make clear that the Commission intended the Rule to remain in effect to the maximum

extent possible if any portion is held “invalid or unenforceable” or is “stayed.” 89 Fed.

Reg. at 38,505 (§ 910.5).



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      Finally, with respect to Association Plaintiffs, any relief should be limited to their

identified members for the same constitutional, equitable, and practical reasons.

Moreover, none of those Plaintiffs have properly demonstrated that they have the

authority to litigate claims on behalf of their millions of anonymous businesses, or that

those businesses have agreed to be bound by any judgment. See Friends of the Earth, Inc.

v. Chevron Chem. Co., 129 F.3d 826 (5th Cir. 1997).

                                   CONCLUSION

      Plaintiffs’ motions for a stay of effective date and preliminary injunction should

be denied.



 Dated: May 29, 2024                          Respectfully submitted,

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                      CERTIFICATE OF WORD COUNT

      This document complies with the Court’s word count requirement, as amended

by the Court’s May 10, 2024 Order, ECF No. 42, because it contains 9993 words.



Dated: May 29, 2024                     /s/ Rachael L. Westmoreland
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                          CERTIFICATE OF SERVICE

      On May 29, 2024, I electronically filed the above response with the clerk of court

for the U.S. District Court, Northern District of Texas. I certify that I have served all

parties electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).



/s/ Rachael L. Westmoreland

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